            Case 1:15-mc-01394-ABJ Document 199 Filed 08/19/22 Page 1 of 29




                                     UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA




    IN RE: U.S. OFFICE OF PERSONNEL
    MANAGEMENT DATA SECURITY
    BREACH LITIGATION
    ______________________________________                              Misc. Action No. 15-1394 (ABJ)
                                                                        MDL Docket No. 2664
    This Document Relates To:
    ALL CASES



            SECOND DECLARATION OF MICHELLE M. LA COUNT REGARDING
                    NOTICE AND SETTLEMENT ADMINISTRATION

I, Michelle M. La Count, hereby declare and state as follows:

           1. I am a Project Director employed by Epiq Class Action & Claims Solutions, Inc.

(“Epiq”). I am familiar with the actions taken by Epiq with respect to the Settlement as described

below, and I am competent to testify about them if called on to do so. This Declaration is based

on my personal knowledge and information provided to me by associates or staff under my

common supervision, and review of the business records maintained by Epiq. It is accurate and

truthful to the best of my knowledge.

           2. Epiq was appointed as the Settlement Administrator pursuant to Paragraph 10 of the

Court’s Preliminary Approval Order (the “Order”) dated June 7, 2022, and in accordance with the

Settlement Agreement dated May 5, 2022 (the “Agreement”). 1




1
    All capitalized terms not otherwise defined in this document shall have the same meanings ascribed to them in the Agreement.

                                                                 1
        Case 1:15-mc-01394-ABJ Document 199 Filed 08/19/22 Page 2 of 29




       3. Pursuant to Paragraph 19 of the Order, the Claims Administrator must compile any

objections as they are received and have them filed on the Court’s docket on a rolling basis, with

the second filing due on August 19, 2022.

       4. As of August 17, 2022, Epiq has received four additional documents purporting to be

objections since the filing of my previous declaration on July 15, 2022 [Dkt. # 195]. Those

documents are attached here as Exhibits 1-4 (with redactions of dates of birth and last four digits

of Social Security Numbers, under Federal Rule of Civil Procedure 5.2).

   5. Exhibit 1 is the mailed version of the putative objection filed with the Court on July 15,

2022, which, at that time, had been received only via email.

   6. Epiq received the putative objections attached as Exhibits 2-4 during the time period since

the July 15, 2022, filing.



   I declare under penalty of perjury under the laws of the United States and the District of

Columbia that the foregoing is true and correct, and that this declaration was executed on August

18, 2022, in Green Bay, Wisconsin.




Michelle M. La Count
Project Director, Epiq




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Case 1:15-mc-01394-ABJ Document 199 Filed 08/19/22 Page 3 of 29




        Exhibit 1
                 Case 1:15-mc-01394-ABJ Document 199 Filed 08/19/22 Page 4 of 29


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Objection Processing
OPM Data Breach Settlement



I object to the terms bf the settlement for the victims of the breach who were forced to
deal with the potential consequences of the breach but who may have been retired or
otherwise unemployed .. Those victims have been omitted from the settlement because
they have no loss of compensable time to report. However, they were still required to
take such protective measures as freezing and unfreezing credit reports, very likely
multiple times. For them using their free time is as much a loss as losing compensated
time. All time has value whether compensable or discretionary.

I am a victim of the data breaches

I do not intend to attend the Fairness Hearing


Sincerely,

   w
William S Porter Jr
dob
ssn




address at time of breach:
                   Case 1:15-mc-01394-ABJ Document 199 Filed 08/19/22 Page 6 of 29
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        Exhibit 2
                  Case 1:15-mc-01394-ABJ Document 199 Filed 08/19/22 Page 8 of 29


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Sunday, 2022/07/10, 12:39 ET

From the desk of:
Dr. James Deon Pearson




-Addressed to:
OPM Data Breach Settlement
Claims Administrator
P.O. Box 4719
Portland, OR 97208-4719

RE:
U.S. Office of Personnel Management Data Security Breach Litigation, No. 15-1394
(ABJ) (D.D.C.).
Objecting to the Settlement




                                                                                   1
                             Case 1:15-mc-01394-ABJ Document 199 Filed 08/19/22 Page 10 of 29

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    To the Court:

    In accordance with the.instructions in Appendix A, am filing an objection to th~
      roposed Settlement in In re: U.S. Office of Personnel Management Data1
      ecurity Breach Litigation, No. 15-1394 (ABJ) (D.D.C.)

    My name and address are as stated on Page 1 under "From the desk of'.

    I am a class member, with claim confirmation code"                                ', because I was subjected for the data breach and
    experienced a compensable time loss (refe rence Appendix B).

    My date of birth is                     · the last four digits of my social security number are -

    My statement as to whether I intend to appear at the Fairness Hearing: No, I will not be in attendance.

    My statement as to whether your objection applies only to you, to a specific subset of the Class, or to the entire Class:
    My statement applies to the entire class.

    My statement setting forth the specific reason for the objection:

                 The data breach in question included my SF-86 form, submitted 2014-04-17
                 23: 15 : 37. This form was submitted in suppo rt of obtaining a US government
                 security clearance.

                 This form i nc l udes data for more than just myself (emphasis). It includes:
                 • My Spouse
                        o Social security number, maiden name, place of birth, date of birth,
                          current address
                 • My Mother
                        o Maiden name, Place of birth, date of birth, cu rrent address
                 • My Father
                        o Place of birth , date of birth, current address
                 • My Sister
                        o Maiden name, place of birth, date of birth, current address
                 • . My Mother-In-Law
                        o Place of birth , date of birth, current address
                 • My Father-In-Law
                        o Place of birth, date of birth, current address

                 These additiona l people are also affected by t hi s data breach. To my knowledge,
                 no effort has been made to contact them, or provide compensation for any loss
                 they have occurred . This class action lawsuit should provide remedy to all
                 victims (who have sustained pecuniary loss), including these.



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               Case 1:15-mc-01394-ABJ Document 199 Filed 08/19/22 Page 11 of 29

       The "declaration of preliminary settlement approval" from Daniel C. Girard
       (Misc. Action No. 15-1394 (ABJ); MDL Docket No. 2664; Execute May 6, 2022),
       section 16 which addresses this concern states (emphasis in red):

             ,-"16. The proposed Notice (SA, Ex. 1) provides all information required
               by Rule 23(c)(2)(B) and directs potential Class members to the Settlement
               Website, where they can make a claim and learn more about the Settlement
               and their rights and options. The Notice Plan contemplates a multifaceted
               program for notifying Class members of the Settlement. (SA, Ex. 5.) The
               Class of breach victims who experienced economic loss is far narrower
               than the group of all Case 1:15-mc-01394-ABJ Document 188-8 Filed
               05/06/22 Page 5 of 83 5 victims, and attempting to mail notice to that
               full group (many of whose addresses are now outdated) would result in
               notice expenses significantly out of proportion to the settlement fund.
               There is rio centralized or readily obtainable list of emails for the
               approximately 22 million breach victims. In contrast, the approximately
               3 .2 million victims t..iho have accepted OPM' s offer of free identity
               protection and credit restoration services demonstrated an interest in
               protecting themselves from the consequences of the Data Breaches, which
               makes them comparatively more likely to be Class members than other
               victims. This group will receive direct notice of the Settlement via
               email, based on contact information maintained by the vendor for these
               services, IDX. For emails that bounce back as undeliverable, a postcard
               version of the notice will be sent via U.S. mail to the corresponding
               address in IDX's database. Additional email notices will be sent to Class
               members using the AFGE and NTEU listservs."

       [his is disingenuous and disres~ectful to all victims.I

           or example, I certainly have contact information for m~
           ather, sister, et. al.
       ~   have never been contacted for such information by any litigant of this suit.I

       Nor does the claim submission form make any attempt to ask for this1
       finformation .I
        Therefore, in my opinion - this is a wholly and disastrously incomplete
        settlement.

Submitted kindly for consideration,




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                  Case 1:15-mc-01394-ABJ Document 199 Filed 08/19/22 Page 12 of 29




Appendix A:
Instructions for filing an objection, as documented from https://www.opmdatabreach.com/Home/FAQ at the date and
time indicated at the header of this letter:


                               Objecting to the Settlement
  I 28. How do I tell the Court if I don't like the Settlement?
       If you are a class member and you do not opt out of the Settlement, you can ask the Court to
       deny approval of the Settlement by filing an objection. You can't ask the Court to order a
       different settlement, the Court can only approve or deny this Settlement. If the Court denies
       approval, no settlement payments will be sent out and the lawsuit will continue. If that is what
       you want to happen, you must object.

       You may object to the proposed Settlement in writing. You may also appear at the Fairness
       Hearing, either in person or through your own attorney. If you appear through your own
       attorney, you are responsible for paying that attorney.

       To object, you must file a document with Epiq, the appointed Claims Administrator, saying that
       you object to the proposed Settlement in In re: U.S. Office of Personnel Management Data
       Security Breach Litigation, No. 15-1394 (ABJ) (D.D.C.). You must include:

              o   Your name, address, and signature;
              o   A statement setting forth the specific reason(s), if any, for the objection, including any
                  legal support for and any evidence that you wish to introduce in connection with your
                  objection;
              o   A statement as to whether your objection applies only to you, to a specific subset of the
                  Class, or to the entire Class;
              o   A statement as to whether you intend to appear at the Fairness Hearing;
              o   A signed statement that you are a class member because you were subject to the data
                  breaches and you experienced one of the forms of loss in the class definition; and
              o   To confirm that you were a victim of the data breaches, your full name (or, if different,
                  your full name at the time of the data breaches) and one of the following: (1) your date of
                  birth and the last four digits of your Social Security number, or (2) the PIN that you
                  received from the OPM Verification Center in connection with OPM's offer of identity
                  protection services.

        Mail the objection by First Class U.S. Mail to the following address:

        OPM Data Breach Settlement
        Claims Administrator
        P.O. Box 4719
        Portland, OR 97208-4719

        Your objection must be received by the Claims Administrator no later than September 9, 2022 to
        be considered by the Court.


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                Case 1:15-mc-01394-ABJ Document 199 Filed 08/19/22 Page 13 of 29



Appendix B:
Confirmation of class action member with submitted claim confirmation code.

My claim is for 2.5 hours of loss time at my then bill rate of $68.36/hr deailing with freezing and unfreezing my credit
report while obtaining a loan for purchase of a new home.

Signat ure for signed statement asserting I am a class member:




Submit a Claim - Confirmation
Thank you for your submission. Your confirmation code is:

Please keep this code for your records and refer to it if you ever have questions about your claim
form for the Claims Administrator.




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Case 1:15-mc-01394-ABJ Document 199 Filed 08/19/22 Page 14 of 29




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         Exhibit 3
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July 26, 2022

PM Data Breach Settlement
Claims Administrator
PO. Box 4719
Portland, OR 97208-4719

Re: Objection to the settlement
U.S. Office of Personnel Management Data Security Breach Litigation, No. 15-1394 (ABJ) (D.D.C.)


Identification:
I am a (retired USDA Forest Service) class member of the OPM data breach(es), and I am currently registered
with "MyID care" coverage through OPM after receiving a notice with a pin number to enroll.

Name: Michelle R Stolpa-Bradshaw (Note: some Government records omit the hyphen in my last name)
Ref: : 9/12/51 4705
Address: 30968 Jocko Road, Arlee, MT 59821

Objection to Settlement:
In October/November of 2020, someone used my PU (Personally Identifiable Information) to apply for Covid
related benefits in the State of Montana. To my knowledge, my PU was not subject to breaches other than the
ones from OPM. Because I know my PU is "out there" (available) and was used once already, that leaves me
vulnerable to future fraud attempts. I do not believe this settlement will reduce my risk in the future
and therefore I believe this settlement should include provisions for additional credit monitoring
beyond what is currently in place and/or other long-term protection. Montana State employees
indicated over the phone that usage of PU for this-and similar-purpose(s) was not an isolated case, so this
potentially includes more compromised OPM-related PII among class members. I have
correspondence with the State, a report form from the local County Sheriff's department, and other materials if
needed. I do not intend to attend the Fairness Hearing.




Michelle R. Stolpa-Bradshaw
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Ms. Michelle Sunm Braiisnaw
30968 Jocko Rd.
Arlee, MT 59821




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         Exhibit 4
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     July 13, 2022

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     Felicia A.Cruse
                                                                                                       : j




     Office of Personnel Management
     Claims Administrator ·
     P.O. Box 4719 , .;•: ,.!:-' : ; ,

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 - Portland, OR 97208-4719

     Dear Claims Administrator:

     I am writing di1s letter to object to the settlement for the Office of Personnel Management Data
     Breach. On or around December 1, 2015, I received a notice from the United States Office of
     Personnel Management stating there was a data breach.

     The letter·stated it~as determined by the United States Office of Personnel Management that
     my Social Security Number and other personal information was included in the data breach. The
     lette~ stated tt,at ALL my personal information was exposed. My FINGERPRINTS, name, social
     security number,.address, date and place of birth, residency, educational and employment
     history, personal foreign travel history, information about immediate family as well as business
     and personal acquaintances and other information used to conduct and adjudicate a background
     investigation that was done around that time.

     First I called OPM to confirm the notice was indeed from OPM. It was confirmed the notice was
     real. I expressed my concerns and asked the person I spoke to on the phone if there was
     anything else I could do to protect myself. I made calls to three different credit agencies,
     checked my credit reports, changed passwords for some accounts, changed phone numbers
     on accounts, put credit freezes on my accounts and utilized the free ·credit monitoring that was
     offered at the time.

     I sent letters to three different credit agencies. I spent significant amounts of time monitoring my
     credit, emails, and different accounts and will have to continue indefinitely. Each time I get an
     alert I have to research to find out if the alert is something important or just a general alert from
     the credit agency. I'm constandy trying to think of ways to out maneuver the criminals in order
     to keep what's left of my information and data private. Now that my fingerprints have also been
     compromised I feel even more vulnerable.

     I have received all kinds of intrusive emails, my information is on the dark web. Someone had
     used my insurance. Basically I've been violated and this particular agency (OPM) should have
       Case 1:15-mc-01394-ABJ Document 199 Filed 08/19/22 Page 22 of 29




been a lot more protective not only because of the kind of data they are expected to handle with
extreme care but because of the type of agency it is.

I am a retired police officer. I put it mildly when I say that I still feel extremely angry about this
and that I feel violated. I constantly worry and am unnerved at the idea that someone has
everything they'd need to completely assume my identity. With access to my fingerprints
irreparable damage can be caused to me personally and financially. I am completely vulnerable.
I will eventually have to spend time repairing credit and attempting to fix identity theft. It's only a
matter of time.

What really offends me are the terms of the offer of settlement. This happened in 2014-2015. I
wasn't notified until December of 2015. I did not keep track of what I spent time or otherwise and
because it's been so long ago I've gotten rid of receipts from that far back. It seems
unreasonable that OPM sent me the notice telling me I'd been violated and now they want me to
provide proof of it.

 The letter started out, "As you may know, the Office of Personnel Management (OPM) was the
target of a malicious cyber intrusion carried out against the U.S. Government, which resulted in
the theft of background investigation records." No I didn't know and didn't find out what occurred
until approximately a year later after it happened. So for about a year all my personal
information was out there compromised without my knowledge. I couldn't begin to take
precautions because I wasn't immediately made aware. This not only has affected me but can
continue to affect me years down the road as well as people associated with me.

I am angry and offended at the terms offered. I entrusted (OPM) to keep my information safe
and believe they could have and should have done more to protect my information. I find the
offer of settlement insulting because with the information that was exposed even people
associated with me are now at risk. Basically because of this breach someone has been
provided information to COMPLETELY assume my identity and somehow $700 and extremely
ridiculous stipulations in order to even be eligible to receive the $700 is supposed to be fair. Now
where criminals would have some access to bits and pieces of information (data) they have all
mine from one incident and one entity. They don't have to search or fill in the blanks. They even
have my fingerprints.

I personally don't think you can put a price on the amount and types of my information that was
exposed but I know $700 is not fair. My exposed information is priceless to criminals and being
a retired police officer I know this for a fact. It's worth way more than $700. I'm not sure whether
or not everyone had the same amounts or types of data exposed but the letter I received was
pretty detailed about the information and people that could potentially be affected because of this
data breach.

 This offer of settlement is unfair. I am objecting to the settlement. I will continuously have to be
vigilant about monitoring. I was told my personal information was exposed, name, social
security number, address, date and place of birth, residency, educational and employment
       Case 1:15-mc-01394-ABJ Document 199 Filed 08/19/22 Page 23 of 29




history, personal foreign travel history, information about immediate family as well as business
and personal acquaintances, and other information used to conduct and adjudicate your
background investigation. compromised as well as my fingerprints in the breach. I would like to
object to the settlement. I have attached a copy of the notice I received in the mail from the
United States Office of Personnel Management. I also have enclosed a copy of the notice sent

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                                                                                             PIN NUMBER:
                          Dear FELICIA CRUSE:

                           As you may know, the Office of Personn
                                                                              el Management (OPM) was the target
                           carried out against the U.S. Government,                                                                   of a malicious cyber intrusion
                                                                                which resulted in the theft of backgrou
                                                                                                                                         nd investigation records. ·
                           You are receiving this noti fication beca
                                                                            use we have determined that your Social
                           personal information was included in the                                                                      Security Number and other
                                                                                intrusion. As someone whose informa
                          concern and frustration and want you                                                                          tion  was also taken, I share your
                                                                         to know we are working hard to help thos
                          Federal government will provide you and                                                                      e imp acted by this incident. The                             r
                                                                                your dependent minor children with com
                          protection and monitoring services. at                                                                            prehensive identity theft
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                                                                             itted a background investigation form,
                          may include your name, Social Security                                                                     the information in our records
                                                                            number, address, date and place of birth
                          employment history, personal foreign                                                                          , residency; educational, and
                                                                         travel history, information about immedia
                         personal acquaintances, and other info                                                                        te family as well as business and
                                                                          rmation used to conduct and adjudicate
                                                                                                                                    your background investigation.                              J
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                       theft protection and monitoring services
                                                                  . We are offering:yoo, and any of your
                                                                                                                       : ~~~~ to prevent such misuse.                              If          e

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                       under the age of 18 as of July I, 2015,                                               dependent children who were
                                                                credit monitoring. 'identity monitoring,

::,\,.;·, /         \ restoration services for the ne,ct thre
                   / protection. The identity theft insuranc
                                                             e years through ID 'Experts, a company
                                                                                                           identity theft insurance and identity
                                                                                                        that specializes in identity theft
                                                                e and identity re.c;toration service coverage                                                                                 ty


        JI             access to these services at any time duri                                               has already begun. You have
                                                                 ng th_e next three years if your identity

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                      Experts usiog the·P~ cod e at the top
                     ·:You may also caO ~7S O-B 004 to enro
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                                                                                                            ww.opm.gov/cybersecuritv.
la.(1.,               ~-dv_a_n_~e ofl!1ese semces.
                                                                   ll in or·a sk questions abo ut these serv
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....J                 Please·~te that OPM and ID Exp erts
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                     contacted by anyone ask ing for you r                                                ona l information.~'-Y.911 ~re
                                                              personal information in relation to this                                                                                        -~·
                     For additional resoorces such a:, informa                                         incident, do not provide~it~
                                                               tion you may share with people listed on
                     investigation forms, type s of information                                         your forms, sample background
                                                                which may have been take n, and tips on
                     information, visit https://www.opm.gov                                             how to protect your personal
                                                              /cybersecuritv.

                     Sincerely,

                     '6Jf,~
                    Beth F. Cobert
                    Act ing ~ire ctor
                    Office of Personnel Management

               -   .opm ,gov
                                                 Recruit, Retain and Honor a World-Class
                                                                                         Workforce                  to Serve the American People                        -     .usaJObS.gov
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OPM Data Breach Settlement                                        Document FIRST
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Claims Admjnistrator                                                                   U.S. POSTAGE PAID
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Portland, OR 97208-4719



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If You Were Subject to the Data
   Breaches of the U.S. Office
   of Personnel Management
  and Its Contractor, and You           lfi Felicia Cruse
 Experienced an Out-of~Pocket           0655!4

  Loss After the Breaches, You
Could Be Eligible for a Payment
from a Class Action Settlement.


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A settlement has been reachedCase         1:15-mc-01394-ABJ
                                  in a class                                   Document
                                             action lawsuit What are your options?      If you are199         Filed
                                                                                                     a Settlement  Cla~s08/19/22   Page 28 of 29
about the data breaches of the U.S. Office of Personnel Member, you must fill out and submit a Claim Fom1
Management ("OPM") and its security contractor that to qualify for a payment. You can quickly and easily
allegedly compromised personal information of then- file your claim online at www.OPMDataBreach.com.
current and former federal government employees and You can also download a paper Claim Form from the
contractors, a~ well as certain applicants for federal website or get one by calling the Claims Administrator
employment. The Defendants in the case-OPM and at 1-855-917-3567. The completed Claim Form must
its contrnctor Peraton Risk Decision Inc. ("Peraton")--- be submitted online or by mail postmarked no later
deny that they did anything wrong b,11t have agreed to than December 23, 2022.
settle the lawsuit. The Court has not decided who is right.
                                                            If you are a Class Member and. you d(!n 't want benefits
Who's in the Settlt>ment? Ynu arc. ;rceMag fl1is from the. Settlement,and you.want tO: keep                   3;our right
notice because. you may he a Class -Member. You to sue befendams con your own about                     the legal issues
are a Class Member if your personal information was
                                                            in this case, then you must take steps to get out of the
compromised as a result of the breaches of OPM's
                                                            Settlement. This is called excluding yourself from-
electronic information systems in 2014 and 2015 or the
breach of Peraton's electronic information systems in or "opting out" of-the Class. If you do not exclude
2013 and 2014; and if, after May '7, 2014, you suffered yourself from the Settlement. you will remain in the
an out-of-pocket expense or lost Compensable Time: Cla~s and will give up the right to sue Defendants for
(I) to purchase a credit monitoring product, credit the claims resolved by the Settlement. Your request
or identity theft protection product, or other product for exclusion must be submitted by mail postmarked
or service designed to identify or remediate the data by September 9, 2022. If you do not exclude yourself
breaches at issue in this case: (2) to access, freeze or from the Settlement, you may object to the Settlement
unfreeze a credit report with a credit reporting agency; if you do not like any part of it. The deadline to object
or (3) as a result of an identity theft incident or to is September 9, 2022. The Court will hold a Faime~s
mi1igate an identity theft incident.                        Hearing at 10:00 a.m. on Oct~ber 14, 2022. At this
                                                            hearin!!, the Court wifrcohsider whether the ~ettlement
What does the Settlement provide? •Defendants will is fair, reasonable. arid adequaie. If there ate objections.
pay $63,000,000 into a Settlement Fund, which will be the Court will consider them. The Court will listen
                                                                                                                       to
distributed to Class Members who submit Valid Claims. people who have a~ked to speak
                                                                                                   at the hearing. You
Class Members who sub1nit Valid Claims will receive may attend at your own expense.
$700 or the actual amount of the claim-whichever your own lawyer                                  or you may also pay
is hi!!her-up to a maximum of $!0,000. If the total                            to attend, but it is not necessary.
value of all Valid Claims, plus any incentive awards to This notice is a summary. The Settlement Agreement
Named Plaintiffs, exceeds the Settlement Fund, then and more information on the lawsuit and your rights are
the value of those individual claims will be reduced in available at www.OPMDataBreach.com or by calling
equal proportion.                                           toll-free 1-855-917-3567.
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Case 1:15-mc-01394-ABJ Document 199:t Filed 08/19/22 Page 29 of 29
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